    Case 18-35170-CMG              Doc 36     Filed 03/29/22 Entered 03/29/22 09:13:23        Desc Main
                                             Document      Page 1 of 2


UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
RUSSELL L. LOW, ESQ.-4745                                               Order Filed on March 29, 2022
                                                                        by Clerk
                                                                        U.S. Bankruptcy Court
                                                                        District of New Jersey




In Re:
Maria D. Quintana                                           Case No.:             18-35170
                                                                            ____________________

                                                            Chapter:                     13

                                                            Judge:                  CMG
                                                                            ____________________



                          ORDER ON MOTION FOR AUTHORIZATION
                    TO ENTER INTO FINAL LOAN MODIFICATION AGREEMENT
                                       (CHAPTER 13)


              The relief set forth on the following page is ORDERED.




 DATED: March 29, 2022
Case 18-35170-CMG            Doc 36     Filed 03/29/22 Entered 03/29/22 09:13:23                   Desc Main
                                       Document      Page 2 of 2


        The Court having reviewed the Motion for Authorization to Enter into Final Loan Modification
                       March 14, 2022
Agreement filed on _____________________,            Midland Mortgage mortgage [enter first,
                                          as to the ___________________
second, third, etc.] concerning real property located at
     296 Meinzer Street Perth Amboy NJ 08861
_________________________________________________, and the Court having considered any
objections filed to such motion, it is hereby ORDERED that:

        x       The debtor is authorized to enter into the final loan modification agreement.

         1)        The loan modification must be fully executed no later than 14 days from the date of this
order. If it is not, the secured creditor, within 14 days thereafter, must file with the Court and serve on the
debtor, debtor’s attorney, if any, and the standing trustee a Certification indicating why the agreement was
not fully executed. A response by the debtor, if any, must be filed and served within 7 days of the filed
date of the secured creditor’s Certification; and

         2)      Upon the filing of the Certification required above, and absent a response from the
debtor, the standing trustee may disburse to the secured creditor all funds held or reserved relating to its
claim. Absent the filing of the Certification within the time frame set forth above, the standing trustee will
disburse funds on hand to other creditors pursuant to the provisions of the confirmed Plan and any proof
of claim filed in this case with respect to the mortgage is deemed modified and incorporated into the Loan
Modification Agreement; and

        3)       Unless the debtor’s Plan has been confirmed with 100% paid to unsecured creditors, the
debtor must file a Modified Chapter 13 Plan and Motions within 14 days of consummation of the loan
modification. If the loan modification results in material changes in the debtor’s expenses, the debtor
must also file amended Schedules I and J within 14 days of the date of this Order; and

        4)       Check one:

                  There is no order requiring the debtor to cure post-petition arrears through the Plan; or

                  Post-petition arrears are capitalized into the loan modification agreement, and the
Order filed on _________________ requiring the Standing Trustee to make payments based on the
arrearage is vacated as of the date of this order; or

                 Post-petition arrears have not been capitalized into the loan modification agreement,
and the Standing Trustee will continue to make payments to the secured creditor based on the Order filed
on ______________; and

        5)       If fees and costs related to loss mitigation/loan modification are sought by the debtor’s
attorney, an Application for Compensation in compliance with D.N.J. LBR 2016-1 must be filed.

         The Motion for Authorization to Enter into Final Loan Modification Agreement is denied.

                                                                                                     new.12/17/19


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